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                 IN‌‌THE‌‌UNITED‌‌STATES‌‌DISTRICT‌‌COURT‌ ‌
                FOR‌‌THE‌‌NORTHERN‌‌DISTRICT‌‌OF‌‌GEORGIA‌ ‌
                            ATLANTA‌‌DIVISION‌‌ ‌
 ‌
 ‌
BRUCE‌‌L.‌‌WEST,‌                            )‌ ‌
                                             )‌ ‌
       Plaintiff,‌                           )‌ ‌
                                             )‌         Civil‌‌Action‌‌File‌ ‌
v.‌                                          )‌         Case‌‌No.:‌ ‌
                                             )‌                            ‌
                                             )‌         JURY‌‌TRIAL‌‌DEMANDED‌ ‌
CARAVELS,‌‌LLC,‌‌AND‌‌                       )‌ ‌
VIRGINIA‌‌                                   )‌ ‌
TRANSFORMER‌‌CORP.,‌                         )‌ ‌
                                             )‌                         ‌
       Defendants.‌                          )‌ ‌
 ‌

                                        COMPLAINT‌‌ ‌

       Plaintiff‌ ‌Bruce‌ ‌West,‌ ‌asserts‌ ‌his‌ ‌Complaint‌ ‌against‌ ‌Caravels,‌ ‌LLC,‌ ‌and‌‌

Virginia‌ ‌Transformer‌ ‌Corp.‌ ‌The‌ ‌defendants‌ ‌are‌ ‌collectively‌ ‌referred‌ ‌to‌ ‌in‌ ‌this‌‌

Complaint‌ ‌as‌ ‌Defendant‌ ‌VTC/GTC‌ ‌or‌ ‌“Defendant,”‌ ‌and‌ ‌shows‌ ‌the‌ ‌Court‌ ‌as‌‌

Follows:‌ ‌

                               NATURE‌‌OF‌‌THE‌‌ACTION‌ ‌

                                                    1. ‌

       Plaintiff‌‌asserts‌‌his‌‌claims‌‌of‌‌race‌‌discrimination‌‌and‌‌retaliation‌‌for‌‌opposing‌‌

race‌ ‌discrimination‌ ‌against‌‌the‌‌Defendants‌‌under‌‌Title‌‌VII‌‌of‌‌the‌‌Civil‌‌Rights‌‌Act‌‌

of‌‌1964,‌‌as‌‌amended,‌‌and‌‌under‌‌42‌‌USC‌‌‌§1‌ 981,‌‌to‌‌correct‌‌a‌‌pattern‌‌and‌‌practice‌‌of‌‌

                                                 1‌ ‌
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unlawful‌ ‌employment‌ ‌discrimination‌ ‌and‌ ‌retaliation‌ ‌on‌ ‌the‌ ‌basis‌ ‌of‌ ‌race‌ ‌and‌ ‌to‌‌

make‌ ‌Plaintiff‌ ‌whole‌ ‌for‌ ‌lost‌ ‌pay‌ ‌and‌ ‌benefits,‌ ‌pecuniary‌ ‌and‌ ‌non‌ ‌pecuniary‌‌

compensatory‌ ‌damages,‌ ‌punitive‌ ‌damages,‌ ‌fees,‌ ‌costs,‌ ‌expenses‌ ‌and‌ ‌injunctive‌‌

relief‌‌because‌‌of‌‌Defendants’‌‌actions‌‌against‌‌Plaintiff‌‌Bruce‌‌West.‌‌ ‌

                              JURISDICTION‌‌AND‌‌VENUE‌ ‌

                                                  2. ‌

       This‌ ‌Court‌ ‌has‌ ‌jurisdiction‌ ‌over‌ ‌this‌ ‌case‌ ‌pursuant‌ ‌to‌ ‌28‌ ‌U.S.C.‌ ‌§1331‌‌

(federal‌ ‌question),‌ ‌28‌ ‌U.S.C.‌ ‌§1343‌ ‌(civil‌ ‌rights),‌ ‌28‌ ‌U.S.C.‌ ‌§§2201‌ ‌and‌ ‌2202‌‌

(declaratory‌ ‌judgment),‌ ‌and‌ ‌42‌ ‌U.S.C.‌ ‌§12117(a)‌ ‌and‌ ‌42‌ ‌USC‌ ‌§1981‌ ‌(race‌‌

discrimination).‌ ‌

                                                  3. ‌

       Venue‌‌is‌‌proper‌‌in‌‌this‌‌district‌‌and‌‌division‌‌pursuant‌‌to‌‌28‌‌U.S.C‌ ‌§1391‌‌and‌‌

OCGA‌ ‌§14-3-510(b)(1)‌ ‌because‌ ‌Defendant‌ ‌is‌ ‌a‌ ‌foreign‌ ‌corporation‌ ‌with‌ ‌its‌‌

registered‌‌office‌‌in‌‌Lawrenceville,‌‌Georgia‌‌which‌‌is‌‌in‌‌this‌‌district‌‌and‌‌division.‌ ‌

                         ADMINISTRATIVE‌‌PROCEEDINGS‌ ‌

                                                  4. ‌

       All‌‌conditions‌‌precedent‌‌to‌‌this‌‌lawsuit‌‌within‌‌the‌‌meaning‌‌of‌‌Fed.‌‌R.‌‌Civ.‌‌P.‌‌

9(c)‌‌have‌‌been‌‌performed‌‌or‌‌otherwise‌‌occurred.‌                    ‌‌




                                                 2‌ ‌
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                                                   5. ‌

       On‌ ‌July‌ ‌30,‌ ‌2020,‌ ‌Plaintiff‌ ‌Bruce‌ ‌West‌ ‌filed‌ ‌a‌ ‌Charge‌ ‌of‌ ‌Discrimination‌‌

based‌‌on‌‌race‌‌and‌‌retaliation‌‌with‌‌the‌‌Equal‌‌Employment‌‌Opportunity‌‌Commission‌‌

(EEOC)‌ ‌and‌ ‌within‌ ‌one‌ ‌hundred‌ ‌and‌ ‌eighty‌ ‌(180)‌ ‌days‌ ‌of‌ ‌the‌ ‌occurrence‌ ‌of‌ ‌the‌‌

acts‌‌of‌‌which‌‌Plaintiff‌‌West‌‌complained.‌ ‌

                                                   6. ‌

       On‌‌April‌‌22,‌‌2021,‌‌Plaintiff‌‌West‌‌received‌‌a‌‌Notice‌‌of‌‌Right‌‌to‌‌Sue‌‌from‌‌the‌‌

EEOC‌‌with‌‌respect‌‌to‌‌his‌‌charge‌‌of‌‌discriminaiton.‌ ‌

                                            PARTIES‌ ‌

                                                   7. ‌

       Plaintiff‌‌Bruce‌‌West‌‌is‌‌a‌‌resident‌‌of‌‌Gwinnett‌‌County,‌‌Georgia.‌ ‌

                                                   8. ‌

       Defendants‌‌employed‌‌Plaintiff‌‌West‌‌as‌‌a‌‌Manufacturing‌‌Manager‌‌at‌‌its‌‌

Rincon,‌‌Georgia‌‌manufacturing‌‌plant‌‌from‌‌July‌‌9,‌‌2019‌‌until‌‌April‌‌17,‌‌2020.‌ ‌

                                                   9. ‌

       Defendant‌ ‌Caravels,‌ ‌LLC‌           ‌d/b/a‌ ‌Georgia‌ ‌Transformer‌ ‌is‌ ‌a‌ ‌Delaware‌‌

corporation‌‌with‌‌its‌‌registered‌‌office‌‌in‌‌Gwinnett‌‌County,‌‌Georgia.‌                      ‌‌




                                                  3‌ ‌
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                                                    10. ‌

        Defendant‌‌employs‌‌over‌‌800‌‌people‌‌throughout‌‌the‌‌United‌‌States,‌‌and‌‌at‌‌all‌‌

times‌‌related‌‌to‌‌this‌‌litigation‌‌had‌‌a‌‌number‌‌of‌‌employees‌‌sufficient‌‌to‌‌be‌‌subject‌‌to‌‌

the‌ ‌race‌ ‌discrimination‌ ‌laws‌ ‌of‌ ‌the‌ ‌United‌ ‌States‌ ‌contained‌ ‌in‌ ‌Title‌ ‌VII‌ ‌and‌ ‌42‌‌

USC‌‌§1981.‌ ‌

                                                    11. ‌

        Defendants‌ ‌may‌ ‌be‌ ‌served‌ ‌with‌ ‌process‌ ‌by‌ ‌delivering‌ ‌a‌ ‌copy‌ ‌of‌ ‌the‌‌

Summons‌ ‌and‌ ‌Complaint‌ ‌to‌ ‌their‌ ‌Registered‌ ‌Agent,‌‌CT‌‌Corporation‌‌System,‌‌289‌‌

S.‌‌Culver‌‌Street,‌‌Lawrenceville,‌‌Gwinnett‌‌County,‌‌Georgia,‌‌30346-4805.‌ ‌

  THE‌‌DEFENDANTS‌‌OPERATED‌‌AS‌‌AN‌‌INTEGRATED‌‌ENTERPRISE‌ ‌

                                                    12. ‌

        Defendant‌ ‌Caravels,‌ ‌LLC,‌ ‌d/b/a‌ ‌Georgia‌ ‌Transformer,‌ ‌is‌ ‌a‌ ‌Delaware‌‌

corporation‌‌with‌‌its‌‌principal‌‌corporate‌‌offices‌‌at‌‌220‌‌Glade‌‌View‌‌Drive,‌‌Roanoke,‌‌

Virginia‌‌24012.‌‌ ‌

                                                    13. ‌

        Caravels,‌ ‌LLC‌ ‌is‌ ‌registered‌ ‌to‌ ‌do‌ ‌business‌ ‌in‌ ‌Georgia‌ ‌with‌ ‌its‌ ‌registered‌‌

office‌ ‌at‌ ‌289‌ ‌S.‌ ‌Culver‌ ‌Street,‌ ‌Lawrenceville,‌ ‌Gwinnett‌ ‌County,‌ ‌Georgia,‌‌

30346-4805.‌                    ‌‌




                                                    4‌ ‌
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                                                  14. ‌

       Defendant‌ ‌Caravels,‌ ‌LLC‌ ‌registered‌ ‌a‌ ‌fictitious‌ ‌name‌ ‌of‌ ‌“Georgia‌‌

Transformer”‌ ‌in‌ ‌Roanoke‌ ‌County,‌ ‌Virginia‌ ‌and‌ ‌does‌ ‌business‌ ‌under‌ ‌the‌ ‌fictitious‌‌

name,‌‌“Georgia‌‌Transformer.”‌ ‌

                                                  15. ‌

       Defendant‌ ‌Virginia‌ ‌Transformer‌ ‌Corp.‌ ‌is‌ ‌a‌ ‌Virginia‌ ‌corporation‌ ‌with‌ ‌its‌‌

principal‌‌place‌‌of‌‌business‌‌at‌‌220‌‌Glade‌‌View‌‌Drive,‌‌Roanoke,‌‌Virginia,‌‌24012.‌ ‌

                                                  16. ‌

       Upon‌ ‌information‌ ‌and‌ ‌belief,‌ ‌the‌ ‌defendants‌ ‌functioned‌ ‌as‌ ‌an‌ ‌integrated‌‌

enterprise‌‌by:‌‌1)‌‌Sharing‌‌corporate‌‌officers;‌‌2)‌‌Sharing‌‌and‌‌reporting‌‌to‌‌a‌‌common‌‌

corporate‌ ‌office‌ ‌at‌ ‌220‌ ‌Glade‌ ‌View‌ ‌Drive,‌ ‌Roanoke,‌ ‌Virginia,‌ ‌24012;‌ ‌3)‌ ‌Sharing‌‌

integrated‌ ‌human‌ ‌resources‌ ‌functions;‌ ‌4)‌ ‌Referring‌ ‌to‌ ‌themselves‌ ‌collectively‌ ‌as‌‌

“Virginia‌‌Georgia‌‌Transformer,‌‌one‌‌source-one‌‌commitment”‌‌and‌‌“VTC/GTC”;‌‌5)‌‌

Having‌‌common‌‌ownership;‌‌6)‌‌Telling‌‌Plaintiff‌‌Bruce‌‌West‌‌that‌‌his‌‌employment‌‌is‌‌

“with‌‌Virginia‌‌Transformer‌‌Corp./Georgia‌‌Transformer‌‌Corp.”‌                          ‌‌




                                                 5‌ ‌
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                                                   17. ‌

       Upon‌ ‌information‌ ‌and‌ ‌belief,‌ ‌the‌ ‌VTC/GTC‌ ‌defendants‌ ‌have‌ ‌a‌ ‌close‌‌

interrelation‌ ‌of‌ ‌operations,‌ ‌as‌ ‌well‌ ‌as‌ ‌centralized‌ ‌control‌ ‌of‌ ‌personnel‌ ‌matters,‌‌

common‌ ‌management‌ ‌and‌ ‌common‌ ‌ownership‌ ‌and‌ ‌financial‌ ‌control.‌ ‌The‌‌

Defendant‌‌VTC/GTC‌‌defendants‌‌are‌‌a‌‌single‌‌employer‌‌and/or‌‌joint‌‌employer,‌‌such‌‌

that‌‌they‌‌may‌‌be‌‌held‌‌jointly‌‌liable‌‌for‌‌the‌‌claims‌‌of‌‌Plaintiff‌‌West.‌ ‌

                                                   18. ‌

       Upon‌ ‌information‌ ‌and‌ ‌belief,‌ ‌the‌ ‌VTC/GTC‌ ‌defendants‌‌can‌‌be‌‌served‌‌with‌‌

process‌ ‌by‌ ‌service‌ ‌on‌ ‌its‌ ‌registered‌‌agent,‌‌CT‌‌Corporation‌‌System,‌‌289‌‌S.‌‌Culver‌‌

Street,‌‌Lawrenceville,‌‌Gwinnett‌‌County,‌‌Georgia,‌‌30346-4805.‌ ‌

                                  STATEMENT‌‌OF‌‌FACTS‌ ‌

                                                   19. ‌

       On‌ ‌July‌ ‌2,‌ ‌1964,‌ ‌the‌‌Congress‌‌of‌‌the‌‌United‌‌States‌‌enacted‌‌Title‌‌VII‌‌of‌‌the‌‌

Civil‌‌Rights‌‌Act‌‌of‌‌1964,‌‌which‌‌prohibits‌‌race‌‌discrimination‌‌in‌‌the‌‌workplace.‌ ‌

                                                   20. ‌

       In‌ ‌1971‌ ‌Virginia‌ ‌Transformer‌ ‌Corp.‌ ‌was‌ ‌formed‌ ‌to‌ ‌manufacture‌ ‌power‌‌

transformers.‌                   ‌‌




                                                   6‌ ‌
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                                                   21. ‌

       In‌‌1982,‌‌Prahbat‌‌Jain‌‌became‌‌the‌‌CEO‌‌of‌‌Virginia‌‌Transformer‌‌Corp.‌ ‌

                                                   22. ‌

       Prahbat‌ ‌Jain‌ ‌and‌ ‌his‌ ‌family‌ ‌own‌ ‌all‌ ‌of‌ ‌the‌ ‌corporate‌ ‌entities‌ ‌of‌ ‌Virginia‌‌

Transformer,‌ ‌and‌ ‌Caravels‌ ‌LLC‌ ‌(referred‌ ‌to‌ ‌in‌ ‌this‌ ‌Complaint‌ ‌as‌ ‌“Defendant‌‌

VTC/GTC”).‌ ‌

                                                   23. ‌

       In‌ ‌2017,‌ ‌Prahbat‌ ‌Jain‌ ‌hired‌ ‌Anoop‌ ‌Nanda‌ ‌to‌ ‌be‌‌the‌‌president‌‌of‌‌Defendant‌‌

VTC/GTC.‌ ‌

                                                   24. ‌

       By‌ ‌2019,‌ ‌Defendant‌ ‌VTC/GTC‌ ‌had‌ ‌grown‌ ‌to‌ ‌over‌ ‌800‌ ‌employees‌ ‌at‌ ‌four‌ ‌

power‌‌transformer‌‌manufacturing‌‌plants‌‌throughout‌‌the‌‌United‌‌States.‌‌ ‌

                                                   25. ‌

       Defendant‌ ‌VTC/GTC‌ ‌has‌ ‌its‌ ‌corporate‌ ‌headquarters‌ ‌in‌ ‌Roanoke,‌ ‌Virginia.‌‌

Its‌‌Human‌‌Resources‌‌executives‌‌are‌‌located‌‌in‌‌Roanoke.‌‌The‌‌Virginia‌‌Transformer‌‌

Corp.‌ ‌executives‌ ‌manage‌ ‌all‌ ‌of‌‌the‌‌facilities‌‌of‌‌Defendant‌‌VTC/GTC‌‌and‌‌oversee‌‌

the‌‌human‌‌resources‌‌policies‌‌of‌‌all‌‌company‌‌facilities.‌‌                     ‌‌




                                                   7‌ ‌
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                                                 26. ‌

       One‌‌of‌‌the‌‌roles‌‌of‌‌Defendant‌‌VTC/GTC’s‌‌Human‌‌Resources‌‌department‌‌is‌‌

to‌ ‌formulate,‌ ‌supervise‌ ‌and‌ ‌enforce‌ ‌policies‌‌designed‌‌to‌‌prevent‌‌discrimination‌‌in‌‌

its‌‌workplaces‌‌and‌‌to‌‌prevent‌‌the‌‌company’s‌‌employees‌‌from‌‌being‌‌fired‌‌illegally.‌ ‌

                                                 27. ‌

       In‌ ‌2015,‌ ‌Jain‌ ‌and‌ ‌Nanda‌ ‌chose‌ ‌Neeraj‌ ‌Baxi‌ ‌to‌ ‌be‌ ‌a‌ ‌Vice‌ ‌President‌ ‌of‌‌

Manufacturing‌‌at‌‌Defendant‌‌VTC/GTC’s‌‌Rincon,‌‌Georgia‌‌manufacturing‌‌plant.‌‌ ‌

                                                 28. ‌

       Defendant‌ ‌VTC/GTC‌ ‌failed‌‌to‌‌adequately‌‌train‌‌or‌‌supervise‌‌Baxi‌‌regarding‌ ‌

the‌‌company’s‌‌anti-discrimination‌‌and‌‌anti-retaliation‌‌policies.‌ ‌

                                                 29. ‌

       In‌ ‌early‌ ‌May,‌ ‌2019,‌ ‌VTC/GTC‌ ‌president,‌ ‌Anoop‌ ‌Nanda‌‌contacted‌‌Plaintiff‌‌

Bruce‌ ‌West‌ ‌to‌ ‌inquire‌ ‌about‌ ‌his‌ ‌interest‌ ‌in‌ ‌managing‌ ‌Defendant‌ ‌VTC/GTC’s‌‌

Rincon,‌ ‌Georgia‌ ‌plant.‌ ‌Nanda‌ ‌arranged‌ ‌to‌ ‌fly‌ ‌Bruce‌ ‌West‌ ‌from‌ ‌West’s‌ ‌home‌ ‌in‌‌

Warren,‌ ‌Ohio‌ ‌to‌ ‌Roanoke,‌ ‌Virginia‌ ‌to‌ ‌interview‌ ‌for‌ ‌the‌ ‌Manufacturing‌ ‌Manager‌‌

position‌ ‌with‌ ‌Defendant‌ ‌VTC/GTC’s‌ ‌CEO,‌ ‌Prahbat‌ ‌Jain,‌ ‌and‌‌company‌‌president,‌‌

Nanda.‌                 ‌‌




                                                 8‌ ‌
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                                                   30. ‌

       On‌ ‌June‌ ‌11,‌ ‌2019,‌ ‌a‌ ‌Georgia‌ ‌Transformer‌‌Human‌‌Resources‌‌representative‌ ‌

sent‌‌a‌‌letter‌‌to‌‌West‌‌offering‌‌to‌‌move‌‌him‌‌and‌‌his‌‌wife‌‌and‌‌children‌‌from‌‌Warren,‌‌

Ohio‌ ‌to‌ ‌Rincon,‌ ‌Georgia‌ ‌to‌ ‌manage‌ ‌the‌ ‌200‌ ‌employee‌ ‌Defendant‌ ‌VTC/GTC’s‌‌

manufacturing‌ ‌plant‌ ‌at‌ ‌a‌ ‌salary‌ ‌of‌ ‌$110,000‌ ‌per‌ ‌year.‌ ‌In‌ ‌addition,‌ ‌the‌ ‌company‌‌

promised‌‌to‌‌pay‌‌West‌‌a‌‌bonus‌‌of‌‌up‌‌to‌‌30%‌‌of‌‌his‌‌salary,‌‌depending‌‌on‌‌individual‌‌

and‌ ‌company‌ ‌performance.‌ ‌West‌ ‌would‌ ‌be‌ ‌reporting‌ ‌to‌ ‌Neeraj‌ ‌Baxi,‌ ‌the‌ ‌VP‌ ‌of‌‌

Manufacturing‌‌in‌‌Rincon.‌ ‌

                                                   31. ‌

        ‌Neeraj‌‌Baxi‌‌is‌‌an‌‌Indian‌‌man.‌‌Bruce‌‌West‌‌is‌‌a‌‌black‌‌man.‌ ‌

                                                   32. ‌

       West‌ ‌accepted‌ ‌the‌ ‌position‌ ‌and‌ ‌began‌ ‌his‌ ‌employment‌ ‌as‌ ‌Rincon‌ ‌Plant‌‌

Manager‌‌with‌‌Defendant‌‌VTC/GTC‌‌on‌J‌ uly‌‌9,‌‌‌2019.‌ ‌

                                                   33. ‌

       West‌ ‌performed‌ ‌well‌ ‌as‌ ‌plant‌ ‌manager‌ ‌of‌ ‌Defendant‌ ‌VTC/GTC’s‌ ‌Rincon,‌‌

Georgia‌‌manufacturing‌‌plant.‌                     ‌‌




                                                  9‌ ‌
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                                                 34. ‌

       In‌ ‌February‌ ‌2020,‌‌Baxi‌‌was‌‌walking‌‌through‌‌the‌‌plant‌‌and‌‌said‌‌to‌‌a‌‌worker‌‌

that‌‌West’s‌‌“black‌‌a**‌‌doesn’t‌‌belong‌‌here.”‌ ‌

                                                 35. ‌

       One‌‌week‌‌after‌‌Baxi‌‌made‌‌the‌‌racial‌‌slur‌‌towards‌‌Bruce‌‌West,‌‌the‌‌employee‌‌

who‌‌heard‌‌the‌‌slur‌‌reported‌‌to‌‌West‌‌that‌‌Baxi‌‌had‌‌made‌‌a‌‌racial‌‌slur‌‌towards‌‌him.‌ ‌

                                                 36. ‌

       On‌‌‌approximately‌‌February‌‌15,‌‌2020,‌‌as‌‌required‌‌by‌‌company‌‌policy,‌‌Bruce‌‌

West‌‌reported‌‌to‌‌management‌‌and‌‌Human‌‌Resources‌‌that‌‌Baxi‌‌had‌‌made‌‌a‌‌racially‌‌

derogatory‌‌comment‌‌about‌‌West‌‌to‌‌one‌‌of‌‌West’s‌‌subordinates.‌ ‌

                                                 37. ‌

       On‌ ‌approximately‌ ‌February‌ ‌28,‌ ‌2020‌ ‌Bruce‌ ‌West‌ ‌also‌ ‌reported‌ ‌directly‌ ‌to‌‌

Anoop‌ ‌Nanda,‌‌president‌‌of‌‌Defendant‌‌VTC/GTC,‌‌that‌‌Baxi‌‌had‌‌made‌‌the‌‌racially‌‌

derogatory‌‌slurs‌‌towards‌‌West.‌‌ ‌

                                                 38. ‌

       Human‌ ‌Resources‌ ‌failed‌ ‌to‌ ‌assign‌ ‌an‌ ‌investigator‌ ‌to‌ ‌investigate‌ ‌West’s‌‌

report‌‌of‌‌race‌‌discrimination.‌                ‌‌




                                                10‌ ‌
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                                                   39. ‌

       West’s‌ ‌report‌ ‌of‌ ‌race‌ ‌discrimination‌ ‌was‌ ‌not‌ ‌investigated‌ ‌or‌ ‌addressed‌ ‌by‌‌

Defendant‌ ‌VTC/GTC.‌ ‌The‌ ‌company‌ ‌did‌ ‌not‌ ‌protect‌ ‌West‌ ‌from‌ ‌further‌‌

discrimination‌‌or‌‌retaliation.‌‌ ‌

                                                   40. ‌

       On‌‌April‌‌15,‌‌2020,‌‌because‌‌West‌‌had‌‌still‌‌not‌‌had‌‌any‌‌feedback‌‌from‌‌Human‌‌

Resources‌ ‌regarding‌ ‌his‌ ‌February‌ ‌reports‌ ‌of‌ ‌race‌ ‌discrimination‌ ‌to‌ ‌company‌‌

managers,‌ ‌Human‌ ‌Resources‌ ‌and‌ ‌the‌ ‌president‌ ‌of‌ ‌the‌ ‌company,‌ ‌West‌ ‌obtained‌ ‌a‌‌

written‌‌statement‌‌from‌‌the‌‌employee‌‌who‌‌witnessed‌‌the‌‌racial‌‌slur.‌‌West‌‌submitted‌‌

the‌‌written‌‌statement‌‌to‌‌his‌‌manager.‌‌ ‌

                                                   41. ‌

       Bruce‌ ‌West’s‌ ‌April‌ ‌15,‌ ‌2020‌ ‌report‌ ‌and‌ ‌submission‌ ‌of‌ ‌a‌ ‌written‌ ‌witness‌‌

statement‌‌of‌‌race‌‌discrimination‌‌was‌‌not‌‌investigated.‌ ‌

                                                   42. ‌

       HR‌ ‌failed‌ ‌to‌ ‌take‌ ‌any‌ ‌action‌ ‌to‌ ‌protect‌ ‌Bruce‌ ‌West‌ ‌from‌ ‌being‌ ‌retaliated‌‌

against‌‌for‌‌exercising‌‌his‌‌duty‌‌under‌‌company‌‌policy‌‌to‌‌report‌‌race‌‌discrimination‌‌

and‌‌his‌‌federally-protected‌‌right‌‌to‌‌oppose‌‌race‌‌discrimination‌‌in‌‌the‌‌workplace.‌                ‌‌




                                                 11‌ ‌
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                                                     43. ‌

        On‌ ‌April‌ ‌17,‌ ‌2020,‌ ‌two‌ ‌days‌ ‌after‌ ‌West‌ ‌renewed‌ ‌his‌ ‌report‌ ‌of‌ ‌race‌‌

discrimination‌ ‌and‌ ‌submitted‌ ‌written‌ ‌evidence‌ ‌in‌ ‌support‌ ‌of‌ ‌it,‌ ‌and‌ ‌about‌ ‌eight‌‌

weeks‌ ‌after‌ ‌West’s‌ ‌original‌ ‌report‌ ‌of‌ ‌race‌ ‌discrimination,‌ ‌Charles‌ ‌Chaffin‌ ‌Jr.,‌‌

Director‌‌of‌‌Defendant‌‌VTC/GTC‌‌Human‌‌Resources‌‌based‌‌at‌‌Defendant‌‌VTC/GTC‌‌

company‌‌headquarters‌‌in‌‌Roanoke,‌‌flew‌‌to‌‌the‌‌Rincon,‌‌Georgia‌‌plant‌‌to‌‌fire‌‌Bruce‌‌

West.‌ ‌

                                                     44. ‌

        Chaffin‌ ‌told‌ ‌West‌ ‌that‌ ‌his‌ ‌termination‌ ‌was‌ ‌not‌ ‌related‌ ‌to‌ ‌his‌ ‌job‌‌

performance.‌‌‌Chaffin‌ ‌told‌‌West‌‌that‌‌the‌‌company‌‌had‌‌decided‌‌to‌‌“restructure”‌‌and‌‌

fire‌‌West,‌‌the‌‌plant’s‌ ‌Manufacturing‌‌Manager.‌‌ ‌

                                                     45. ‌

        After‌ ‌firing‌ ‌West,‌ ‌Defendant‌ ‌VTC/GTC‌ ‌hired‌ ‌a‌ ‌white‌ ‌man‌ ‌to‌ ‌do‌ ‌the‌ ‌job‌‌

West‌‌had‌‌been‌‌doing.‌ ‌

                                                     46. ‌

        Defendant‌‌discriminated‌‌against‌‌Plaintiff‌‌Bruce‌‌West‌‌because‌‌of‌‌his‌‌race‌‌and‌‌

fired‌ ‌him‌ ‌in‌ ‌retaliation‌ ‌for‌ ‌opposing‌ ‌race‌ ‌discrimination,‌ ‌in‌ ‌violation‌ ‌of‌‌Title‌‌VII‌‌

and‌‌42‌‌USC‌‌§1981.‌                     ‌‌




                                                   12‌ ‌
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                                                   47. ‌

       Others‌‌outside‌‌of‌‌Plaintiff’s‌‌Bruce‌‌West’s‌‌protected‌‌classification‌‌were‌‌

treated‌‌preferably.‌

                                            COUNT‌‌I:‌ ‌

                         Title‌‌VII‌‌of‌‌the‌‌1964‌‌Civil‌‌Rights‌‌Act‌ ‌ ‌
                                               and‌ ‌ ‌
                42‌‌U.S.C.‌‌§‌‌1981‌‌Race‌‌Discrimination‌‌in‌‌Employment‌ ‌
         ‌

                                                   48. ‌

       For‌ ‌his‌ ‌first‌ ‌Count,‌ ‌Plaintiff‌ ‌Bruce‌ ‌West‌ ‌incorporates‌ ‌the‌ ‌previous‌‌

paragraphs‌‌of‌‌the‌‌Complaint.‌ ‌

                                                   49. ‌

       As‌ ‌the‌ ‌Vice-President‌ ‌of‌ ‌Manufacturing‌‌at‌‌the‌‌Rincon‌‌manufacturing‌‌plant,‌‌

Neeraj‌ ‌Baxi‌ ‌was‌ ‌the‌ ‌highest‌ ‌level‌ ‌company‌ ‌officer‌ ‌at‌ ‌the‌ ‌plant‌ ‌and‌ ‌represented‌‌

Defendant‌ ‌VTC/GTC’s‌ ‌official‌ ‌policies,‌ ‌including‌ ‌its‌ ‌policies‌ ‌towards‌ ‌race‌‌

discrimination.‌ ‌

                                                   50. ‌

       When‌ ‌the‌ ‌Vice-President‌ ‌of‌ ‌Manufacturing‌ ‌walked‌ ‌the‌ ‌factory‌ ‌floor‌ ‌and‌‌

used‌ ‌a‌ ‌racial‌ ‌slur‌ ‌referring‌ ‌to‌ ‌the‌ ‌Manufacturing‌ ‌Manager‌ ‌to‌ ‌a‌ ‌subordinate‌‌

employee‌ ‌of‌ ‌the‌ ‌Manufacturing‌ ‌Manager,‌ ‌the‌ ‌company‌ ‌promoted‌ ‌discrimination‌‌

based‌‌on‌‌the‌‌race‌‌of‌‌the‌‌Manufacturing‌‌Manager.‌ ‌

                                                 13‌ ‌
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                                                 51. ‌

        When‌ ‌the‌ ‌Vice-President‌ ‌of‌ ‌Manufacturing‌ ‌told‌ ‌an‌ ‌employee‌ ‌that‌ ‌the‌‌

Manufacturing‌ ‌Manager’s‌ ‌“black‌ ‌*ss‌ ‌doesn’t‌ ‌belong‌ ‌here,”‌ ‌the‌ ‌company‌ ‌told‌‌

employees‌ ‌that‌ ‌it‌ ‌plans‌‌to‌‌take‌‌adverse‌‌action‌‌against‌‌the‌‌Manufacturing‌‌Manager‌‌

because‌‌of‌‌his‌‌race.‌ ‌

                                                 52. ‌

        Plaintiff‌‌Bruce‌‌West‌‌was‌‌qualified‌‌to‌‌perform‌‌the‌‌position‌‌as‌‌Manufacturing‌‌

Manager.‌ ‌At‌ ‌the‌ ‌time‌ ‌Baxi‌ ‌made‌ ‌the‌ ‌racial‌ ‌slur,‌ ‌West‌ ‌was‌ ‌meeting‌ ‌Defendant‌‌

VTC/GTC’s‌ ‌expectations‌‌in‌‌his‌‌job‌‌performance.‌‌The‌‌company‌‌had‌‌procedures‌‌in‌‌

place‌‌to‌‌complete‌‌written‌‌reviews‌‌of‌‌job‌‌performance.‌‌Baxi‌‌had‌‌failed‌‌to‌‌complete‌‌

any‌‌of‌‌the‌‌written‌‌reviews‌‌required‌‌to‌‌evaluate‌‌West’s‌‌performance‌‌before‌‌making‌‌

the‌ ‌racial‌ ‌slur‌‌indicating‌‌the‌‌intention‌‌to‌‌take‌‌adverse‌‌action‌‌against‌‌West‌‌because‌‌

of‌‌his‌‌race.‌ ‌

                                                 53. ‌

        As‌ ‌a‌ ‌black‌‌man,‌‌Bruce‌‌West‌‌was‌‌in‌‌a‌‌class‌‌of‌‌employees‌‌protected‌‌by‌‌Title‌‌

VII‌‌and‌‌42‌‌USC‌‌§1981.‌                 ‌‌




                                                14‌ ‌
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                                                       54. ‌

        Others‌‌outside‌‌of‌‌Mr.‌‌West’s‌‌protected‌‌class‌‌were‌‌treated‌‌differently.‌‌Shortly‌‌

after‌ ‌Baxi’s‌ ‌statement‌ ‌that‌ ‌“his‌ ‌black‌ ‌*ss‌ ‌doesn’t‌ ‌belong‌ ‌here,”‌ ‌Defendant‌‌

VTC/GTC‌‌fired‌‌Bruce‌‌West‌‌and‌‌hired‌‌a‌‌white‌‌man‌‌to‌‌manage‌‌its‌‌Rincon‌‌plant.‌‌ ‌

                                                       55. ‌

        Baxi’s‌ ‌use‌ ‌of‌ ‌a‌ ‌racial‌ ‌slur‌ ‌to‌ ‌refer‌ ‌to‌ ‌West‌ ‌when‌ ‌talking‌ ‌to‌ ‌one‌ ‌of‌ ‌West’s‌‌

employees‌‌is‌‌racial‌‌harassment.‌ ‌

                                                       56. ‌

        Defendant‌ ‌VTC/GTC‌ ‌violated‌ ‌Title‌ ‌VII‌ ‌and‌ ‌42‌ ‌USC‌ ‌§1981‌ ‌by‌ ‌taking‌‌

adverse‌‌employment‌‌action‌‌against‌‌him‌‌because‌‌of‌‌his‌‌race.‌                    ‌

                                                       57. ‌

        Plaintiff’s‌‌race‌‌was‌‌a‌‌motivating‌‌factor‌‌in‌‌Defendant’s‌‌decision‌‌to‌‌terminate‌‌

Plaintiff.‌‌ ‌

                                                       58. ‌

        Defendant’s‌‌actions‌‌in‌‌subjecting‌‌Plaintiff‌‌Bruce‌‌West‌‌to‌‌different‌‌terms‌‌and‌‌

conditions‌‌of‌‌employment‌‌based‌‌on‌‌his‌‌race‌‌constitutes‌‌unlawful‌‌discrimination‌‌in‌‌

violation‌‌of‌‌Title‌‌VII‌‌and‌‌42‌‌USC‌‌‌§1‌ 981,‌‌as‌‌amended.‌‌Defendant‌‌acted‌‌with‌‌malice‌‌

and‌‌in‌‌reckless‌‌indifference‌‌to‌‌Plaintiff’s‌‌federally‌‌protected‌‌rights.‌‌ ‌

         ‌


                                                      15‌ ‌
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                                                     59. ‌

        Defendant‌ ‌has‌ ‌willfully‌ ‌and‌ ‌wantonly‌ ‌disregarded‌ ‌Mr.‌ ‌West’s‌ ‌rights,‌ ‌and‌‌

Defendant‌ ‌VTC/GTC’s‌ ‌discrimination‌ ‌against‌ ‌Mr.‌ ‌West‌ ‌was‌ ‌undertaken‌ ‌in‌ ‌bad‌‌

faith.‌ ‌

                                                     60. ‌

        The‌ ‌effect‌ ‌of‌ ‌the‌ ‌conduct‌ ‌was‌ ‌to‌ ‌deprive‌ ‌Plaintiff‌ ‌Bruce‌ ‌West‌ ‌of‌ ‌equal‌‌

employment‌ ‌opportunity,‌ ‌and‌ ‌otherwise‌ ‌adversely‌ ‌affect‌ ‌Mr.‌ ‌West’s‌ ‌status‌ ‌as‌ ‌an‌‌

employee‌‌because‌‌of‌‌his‌‌race.‌‌ ‌

                                                     61. ‌

        As‌ ‌a‌ ‌direct‌ ‌and‌ ‌proximate‌ ‌result‌ ‌of‌ ‌these‌ ‌actions,‌ ‌Plaintiff‌ ‌Bruce‌ ‌West‌ ‌has‌‌

been‌ ‌made‌ ‌a‌ ‌victim‌ ‌of‌ ‌acts‌‌that‌‌adversely‌‌affected‌‌his‌‌psychological‌‌and‌‌physical‌‌

well‌‌being,‌‌as‌‌well‌‌as‌‌causing‌‌lost‌‌compensation‌‌and‌‌benefits.‌ ‌

                                                     62. ‌

        Pursuant‌ ‌to‌ ‌Title‌ ‌VII‌‌and‌‌42‌‌USC‌‌‌§1‌ 981,‌‌Plaintiff‌‌Bruce‌‌West‌‌is‌‌entitled‌‌to‌‌

damages,‌ ‌including‌ ‌but‌ ‌not‌ ‌limited‌ ‌to‌ ‌back‌ ‌pay‌ ‌and‌ ‌lost‌ ‌benefits,‌ ‌compensatory‌ ‌

damages,‌‌punitive‌‌damages,‌‌reinstatement,‌‌equitable‌‌relief,‌‌attorneys’‌‌fees,‌‌costs‌‌of‌‌

litigation‌‌and‌‌all‌‌other‌‌relief‌‌recoverable‌‌under‌‌Title‌‌VII‌‌and‌‌42‌‌USC‌§‌ 1‌ 981.‌ ‌                 ‌‌




                                                    16‌ ‌
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                                           COUNT‌‌II:‌‌ ‌

                                            Retaliation‌‌ ‌
                           Title‌‌VII‌‌of‌‌the‌‌1964‌‌Civil‌‌Rights‌‌Act‌ ‌
                                                 and‌ ‌
                                        42‌‌U.S.C.‌‌§‌‌1981‌ ‌
                                                    ‌
                                                   63. ‌

        For‌ ‌his‌ ‌second‌ ‌Count,‌ ‌Plaintiff‌ ‌Bruce‌ ‌West‌ ‌incorporates‌ ‌the‌ ‌preceding‌‌

paragraphs‌‌of‌‌this‌‌Complaint.‌ ‌ ‌

                                                   64. ‌

        Title‌ ‌VII‌ ‌and‌ ‌42‌ ‌USC‌ ‌§1‌ 981‌ ‌prohibit‌ ‌employment‌ ‌discrimination‌ ‌on‌ ‌the‌‌

basis‌‌of‌‌race.‌ ‌

                                                   65. ‌

        The‌ ‌laws‌ ‌that‌ ‌prohibit‌ ‌discrimination‌ ‌in‌ ‌the‌ ‌workplace‌ ‌also‌ ‌prohibit‌ ‌an‌‌

employer‌‌from‌‌taking‌‌retaliatory‌‌action‌‌against‌‌an‌‌employee‌‌because‌‌the‌‌employee‌‌

has‌‌asserted‌‌rights‌‌or‌‌made‌‌complaints‌‌under‌‌race‌‌discrimination‌‌statutes.‌ ‌

                                                   66. ‌

        Plaintiff‌ ‌believed‌ ‌that‌ ‌Baxi‌ ‌discriminated‌ ‌against‌ ‌him‌ ‌because‌ ‌of‌ ‌his‌ ‌race‌‌

when‌‌Baxi‌‌used‌‌a‌‌racial‌‌slur‌‌and‌‌said‌‌West‌‌did‌‌not‌‌belong‌‌in‌‌his‌‌position.‌                  ‌‌




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                                                  67. ‌

       Plaintiff‌ ‌complained‌ ‌about‌ ‌Baxi’s‌ ‌racial‌ ‌slur‌ ‌against‌ ‌him‌ ‌by‌ ‌reporting‌ ‌the‌‌

slur‌ ‌to‌ ‌his‌ ‌manager,‌ ‌a‌ ‌representative‌ ‌of‌ ‌Human‌ ‌Resources‌ ‌and‌ ‌the‌ ‌president‌ ‌of‌‌

VTC/GTC‌‌in‌‌February‌‌of‌‌2020.‌ ‌

                                                  68. ‌

       On‌ ‌April‌‌15,‌‌2020,‌‌plaintiff‌‌sent‌‌a‌‌written‌‌witness‌‌statement‌‌to‌‌his‌‌manager‌‌

in‌ ‌support‌ ‌of‌ ‌his‌ ‌February‌ ‌complaints‌ ‌of‌ ‌discrimination,‌ ‌which‌ ‌the‌ ‌Defendant‌‌

VTC/GTC‌‌had‌‌failed‌‌to‌‌address.‌ ‌

                                                  69. ‌

       About‌ ‌eight‌ ‌weeks‌ ‌after‌ ‌originally‌ ‌complaining‌ ‌of‌ ‌discrimination‌ ‌and‌ ‌two‌‌

days‌ ‌after‌ ‌submitting‌ ‌written‌ ‌evidence‌ ‌of‌ ‌his‌ ‌complaint‌ ‌of‌ ‌discrimination,‌‌

Defendant‌‌VTC/GTC‌‌fired‌ ‌Plaintiff‌‌Bruce‌‌West.‌ ‌

                                                  70. ‌

       Firing‌ ‌an‌ ‌employee‌ ‌for‌ ‌opposing‌ ‌race‌ ‌discrimination‌ ‌is‌ ‌an‌ ‌adverse‌‌

employment‌ ‌action‌ ‌that‌ ‌would‌ ‌make‌ ‌a‌ ‌reasonable‌ ‌employee‌ ‌reluctant‌ ‌to‌ ‌make‌ ‌or‌‌

support‌‌a‌‌charge‌‌of‌‌discrimination.‌                  ‌‌




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                                                 71. ‌

       Plaintiff‌ ‌Bruce‌ ‌West’s‌ ‌reports‌ ‌of‌ ‌discrimination‌ ‌to‌ ‌his‌ ‌managers,‌ ‌Human‌‌

Resources‌ ‌and‌ ‌the‌ ‌president‌ ‌of‌ ‌Defendant‌ ‌VTC/GTC‌ ‌influenced‌ ‌Defendant‌‌

VTC/GTC’s‌‌decision‌‌to‌‌fire‌‌plaintiff‌‌shortly‌‌after‌‌he‌‌made‌‌the‌‌reports.‌ ‌

                                                 72. ‌

       Defendant‌‌VTC/GTCs‌‌acts‌‌in‌‌retaliating‌‌against‌‌Plaintiff‌‌Bruce‌‌West‌‌caused‌‌

damages‌‌to‌‌West.‌ ‌

                                                 73. ‌

                                     PRAYER‌‌FOR‌‌RELIEF‌ ‌

       WHEREFORE,‌‌Plaintiff‌‌Bruce‌‌West‌‌respectfully‌‌prays‌‌this‌‌court:‌ ‌

           a. Grant‌ ‌a‌ ‌permanent‌ ‌injunction‌ ‌enjoining‌ ‌Defendants,‌ ‌its‌ ‌officers,‌‌

              agents,‌ ‌servants,‌ ‌employees,‌ ‌attorneys,‌ ‌and‌ ‌all‌ ‌persons‌ ‌in‌ ‌active‌‌

              concert‌ ‌or‌ ‌participation‌ ‌with‌ ‌it,‌ ‌from‌ ‌maintaining‌ ‌a‌ ‌racially‌ ‌hostile‌

              work‌ ‌environment‌ ‌and‌ ‌engaging‌ ‌in‌ ‌any‌ ‌other‌ ‌employment‌ ‌practices‌‌

              which‌‌discriminate‌‌against‌‌employees‌‌based‌‌on‌‌their‌‌race.‌ ‌

           b. Order‌ ‌Defendant‌ ‌to‌ ‌institute‌ ‌and‌ ‌carry‌ ‌out‌ ‌policies,‌ ‌practices,‌ ‌and‌‌

              programs‌ ‌that‌ ‌provide‌ ‌equal‌ ‌employment‌ ‌opportunities‌ ‌for‌ ‌all‌‌

              employees‌ ‌and‌ ‌that‌ ‌eradicate‌ ‌the‌ ‌effects‌ ‌of‌ ‌its‌ ‌past‌ ‌and‌ ‌present‌‌

              unlawful‌‌employment‌‌practices.‌ ‌


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    c. Order‌‌Defendants‌‌to‌‌adopt,‌‌implement‌‌and‌‌distribute‌‌a‌‌formal,‌‌written‌‌

        anti-discrimination‌‌policy‌‌that‌‌prohibits‌‌discrimination‌‌on‌‌the‌‌basis‌‌of‌‌

        race,‌ ‌including‌ ‌racial‌ ‌harassment,‌ ‌outline‌ ‌a‌ ‌procedure‌ ‌for‌ ‌employees‌‌

        to‌ ‌make‌ ‌or‌ ‌report‌ ‌complaints‌ ‌of‌ ‌discrimination,‌ ‌and‌ ‌identifies‌ ‌with‌‌

        whom‌‌complaints‌‌or‌‌reports‌‌should‌‌be‌‌filed.‌ ‌

    d. Order‌ ‌the‌ ‌Defendants‌ ‌to‌ ‌distribute‌ ‌to‌ ‌each‌ ‌current‌ ‌employee‌ ‌in‌ ‌the‌‌

        United‌‌States‌‌a‌‌copy‌‌of‌‌the‌‌policy‌‌and‌‌distribute‌‌the‌‌policy‌‌to‌‌all‌‌new‌‌

        employees‌ ‌in‌ ‌the‌ ‌United‌ ‌States‌‌and‌‌review‌‌it‌‌with‌‌them‌‌within‌‌seven‌‌

        days‌‌of‌‌hire.‌ ‌

    e. Post‌ ‌a‌ ‌copy‌ ‌of‌ ‌the‌ ‌policy‌ ‌described‌ ‌above‌ ‌in‌ ‌its‌‌facilities‌‌throughout‌‌

        the‌‌United‌‌States‌‌where‌‌it‌‌has‌‌employees,‌‌in‌‌a‌‌place‌‌where‌‌it‌‌is‌‌visible‌‌

        to‌‌all‌‌employees.‌ ‌

    f. Order‌ ‌defendant‌ ‌to‌ ‌provide‌ ‌an‌ ‌annual‌‌training‌‌program‌‌regarding‌‌the‌‌

        anti-discrimination‌ ‌policy,‌ ‌to‌ ‌all‌ ‌of‌‌its‌‌owners,‌‌managers,‌‌supervisors‌‌

        and‌‌employees.‌ ‌

    g. Order‌‌Defendants‌‌to‌‌adopt,‌‌implement‌‌and‌‌distribute‌‌a‌‌formal‌‌written‌‌

        anti-retaliation‌ ‌policy‌ ‌that‌ ‌prohibits‌ ‌adverse‌ ‌employment‌ ‌action‌ ‌and‌‌

        protects‌ ‌employees‌ ‌who‌ ‌make‌ ‌or‌ ‌report‌‌complaints‌‌of‌‌discrimination‌‌




                                           20‌ ‌
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       pursuant‌ ‌to‌ ‌the‌ ‌anti-discrimination‌ ‌policy‌ ‌from‌ ‌being‌ ‌subject‌ ‌to‌‌

       adverse‌‌employment‌‌action‌‌related‌‌to‌‌the‌‌report‌‌or‌‌complaint.‌ ‌

    h. Order‌‌Defendants‌‌to‌‌adopt‌‌and‌‌implement‌‌a‌‌formal‌‌written‌‌policy‌‌that‌‌

       requires‌ ‌the‌ ‌Defendants‌ ‌to‌ ‌investigate‌ ‌all‌ ‌complaints‌ ‌or‌ ‌reports‌ ‌of‌‌

       discrimination‌ ‌with‌ ‌a‌ ‌qualified,‌ ‌neutral‌ ‌investigator‌ ‌who‌ ‌documents‌‌

       the‌‌investigation‌‌with‌‌a‌‌report‌‌of‌‌investigation.‌ ‌

    i. Order‌ ‌the‌ ‌defendant‌ ‌to‌ ‌eliminate‌ ‌from‌ ‌the‌ ‌employment‌ ‌record‌ ‌of‌

       Plaintiff‌ ‌Bruce‌ ‌West‌ ‌all‌ ‌documents,‌ ‌entries‌ ‌or‌ ‌references‌‌of‌‌any‌‌kind‌‌

       which‌ ‌lead‌ ‌to‌ ‌the‌ ‌filing‌ ‌of‌ ‌his‌ ‌EEOC‌ ‌Charge‌ ‌and‌ ‌the‌ ‌related‌ ‌events‌‌

       that‌‌occurred‌‌thereafter,‌‌including‌‌this‌‌litigation.‌ ‌

    j. Order‌ ‌Defendant‌ ‌to‌ ‌make‌ ‌Plaintiff‌ ‌Bruce‌ ‌West‌ ‌whole,‌ ‌by‌ ‌providing‌‌

       appropriate‌ ‌back‌ ‌pay‌ ‌with‌ ‌prejudgment‌ ‌interest,‌ ‌in‌ ‌amounts‌ ‌to‌ ‌be‌‌

       determined‌ ‌at‌ ‌trial,‌ ‌and‌ ‌other‌ ‌affirmative‌ ‌relief,‌ ‌including‌‌

       reinstatement‌ ‌or‌ ‌front‌ ‌pay,‌ ‌necessary‌ ‌to‌ ‌eradicate‌ ‌the‌ ‌effects‌ ‌of‌ ‌its‌‌

       unlawful‌‌employment‌‌practices.‌ ‌

    k. ‌Order‌ ‌Defendant‌ ‌to‌ ‌make‌ ‌Plaintiff‌ ‌Bruce‌ ‌West‌ ‌whole,‌ ‌by‌ ‌providing‌‌

       compensation‌ ‌for‌ ‌past‌ ‌and‌ ‌future‌ ‌pecuniary‌ ‌losses‌ ‌resulting‌‌from‌‌the‌‌

       unlawful‌ ‌employment‌ ‌practices‌ ‌described‌ ‌above,‌ ‌in‌ ‌amounts‌ ‌to‌ ‌be‌‌

       determined‌‌at‌‌trial.‌ ‌


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    l. Order‌ ‌Defendant‌ ‌to‌ ‌make‌ ‌Plaintiff‌ ‌Bruce‌ ‌West‌ ‌whole,‌ ‌by‌ ‌providing‌‌

       compensation‌ ‌for‌‌past‌‌and‌‌future‌‌non-pecuniary‌‌losses‌‌resulting‌‌from‌‌

       the‌ ‌unlawful‌ ‌practices‌ ‌described‌ ‌above,‌ ‌including‌ ‌inconvenience,‌‌

       emotional‌ ‌pain‌ ‌and‌ ‌suffering,‌ ‌anxiety,‌ ‌stress,‌ ‌depression,‌ ‌loss‌ ‌of‌‌

       enjoyment‌ ‌of‌ ‌life,‌ ‌and‌ ‌humiliation,‌ ‌in‌ ‌amounts‌ ‌to‌ ‌be‌ ‌determined‌ ‌at‌‌

       trial.‌ ‌

    m. Order‌‌Defendants‌‌to‌‌pay‌‌Plaintiff‌‌Bruce‌‌West‌‌punitive‌‌damages‌‌for‌‌its‌‌

       malicious‌ ‌and‌ ‌reckless‌ ‌conduct‌ ‌described‌ ‌above,‌ ‌in‌ ‌amounts‌ ‌to‌ ‌be‌‌

       determined‌‌at‌‌trial.‌ ‌

    n. Grant‌ ‌such‌ ‌further‌ ‌relief‌ ‌as‌ ‌the‌ ‌Court‌ ‌deems‌‌necessary‌‌and‌‌proper‌‌in‌‌

       the‌‌public‌‌interest.‌ ‌

    o. Award‌ ‌the‌ ‌Plaintiff‌ ‌Bruce‌ ‌West‌ ‌his‌ ‌costs‌ ‌in‌ ‌this‌ ‌action,‌ ‌including‌‌

       reasonable‌ ‌attorneys‌ ‌fees,‌ ‌expenses,‌ ‌costs‌ ‌of‌ ‌litigation‌ ‌and‌‌

       prejudgment‌‌and‌‌postjudgment‌‌interest.‌ ‌

    p. Award‌‌Plaintiff‌‌such‌‌other‌‌relief‌‌as‌‌this‌‌Court‌‌deems‌‌just‌‌and‌‌proper.‌         ‌‌




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                                  JURY‌‌TRIAL‌‌DEMAND‌ ‌

      The‌ ‌plaintiff‌ ‌requests‌ ‌a‌ ‌jury‌ ‌trial‌ ‌on‌ ‌all‌ ‌questions‌ ‌of‌ ‌fact‌ ‌raised‌ ‌by‌ ‌his‌‌

Complaint.‌ ‌

       ‌

      Respectfully‌‌submitted‌‌this‌‌20th‌‌day‌‌of‌‌July‌‌2021,‌ ‌

       ‌

                                               /‌s/‌‌Benjamin‌‌F.‌‌Barrett‌‌Jr.‌           ‌
                                               Benjamin‌‌F.‌‌Barrett‌‌Jr.‌ ‌
                                               GA‌‌Bar‌‌No:‌‌039586‌ ‌
       ‌
                                               Ben‌‌Barrett‌‌Law‌ ‌
                                               1050‌‌Crown‌‌Pointe‌‌Pkwy‌ ‌
                                               Suite‌‌500‌ ‌
                                               Atlanta,‌‌GA‌‌30338‌ ‌
                                               404-845-7449‌ ‌
                                               ben@benbarrettlaw.com‌ ‌
       ‌
                                               Attorney‌‌for‌‌Plaintiff‌ ‌




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